Case 1:13-cv-01386-WDQ Document 3 Filed 05/21/13 Page 1 of 2

IN THE UNITED STATES DISTR]CT COURT
FOR THE DlSTRICT OF MARYLAND

NATHAN CURTIS TAYLOR, *

Plaintiff, *

v. * Civil No. WDQ-l3-l386
DEPARTMENT OF HEALTH AND *

MENTAL HYGIENE,

Defendant. *

***
MEMORANDUM

Nathan Curtis Taylor filed the above-styled case on May 9, 2013, ECF No. l, along with
a Motion to Proceed in Forma Pauperis, ECF No. 2. Because he appears to be indigent,
Taylor’s motion will be granted.

The Complaint seeks $100 million in damages for allegedly lifelong “unfair treatment”
by Baltimore City Police. ECF No. 1 at 2, 3. Taylor claims this mistreatment is because of sex
discrimination and “prejudice.” ld. The remainder of the Complaint consists of similar
conclusions that Taylor has been the victim of “unjustitied acts of behavior.” Id. at 2.

Under Fed. R. Civ. P. 8(a)(2), a complaint must include “a short and plain statement of
the claim showing that the pleader is entitled to relief.” “A document filed pro se is ‘to be
liberally construed.”’ Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (quoting Estelle
v. Gamble, 429 U.S. 97, 106 (1976)). But, it must give the defendant “fair notice of what the
plaintiffs claim is and the grounds upon which it rests.” Swierkiewicz v. Sorema N.A., 534 U.S.
506, 512 (2002) (intemal quotation marks omitted); Beaua'ett v. City of Hamp!on, 775 F.2d 1274,
1278 (4th Cir. 1985) (duty to construe liberally does not require district courts to “conjure up

questions never squarely presented to them”). A court may dismiss a complaint that is “so

Case 1:13-cv-01386-WDQ Document 3 Filed 05/21/13 Page 2 of 2

confused, ambiguous, vague or otherwise unintelligible that its true substance, if any, is well
disguised.” Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. 1988). Such a complaint “places an
unjustifiable burden on defendants to determine the nature of the claim against them and to
speculate on what their defenses might be” and imposes a burden on the court to “sort out” the
factual basis of any claims fairly raised, making dismissal under Rule 8 appropriate Holsey v.
ColIins, 90 F.R.D. 122, 123-24 (D. Md. 1981) (internal quotation marks omitted); see also
Spencer v. Hedges, 838 F.2d 1210 (Table), 1988 WL 9621, at *l (4th Cir. 1988) (per curiam).

Here, the Complaint, liberally construed, does not provide a “short and plain statement”
showing entitlement to relief; instead, the convoluted narratives, together with the
unsubstantiated conclusions, render the document incomprehensible Thus, the Complaint must
be dismissed.

A separate Order follows.

5/11//°>

Date '

    

/¢

ram D. Quarles, Jr.
ited States District .ludge

 

